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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                OWENSBORO DIVISION
                              CASE NO. 4:21-CV-00093-JHM

 TANISHA WILLIAMS, et al.                                                          PLAINTIFFS

 V.

 ARTHUR DALE COLLINS, et al.                                                    DEFENDANTS




                                     NOTICE OF SERVICE


        Comes the Defendant, Arthur Dale Collins, individually and in his official capacity, by and

 through counsel, and hereby gives notice that Defendant Arthur Dale Collins’ Rule 26(A)(1) Initial

 Disclosures were served upon counsel of record on May 2, 2022.

                                              Respectfully submitted,

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Case 4:21-cv-00093-JHM-HBB Document 51 Filed 05/02/22 Page 2 of 2 PageID #: 360




                                 CERTIFICATE OF SERVICE

        It is hereby certified that a copy of the foregoing was this 2nd day of May, 2022 served via
 U.S. Mail and/or electronic mail and/or electronically through the CM/ECF filing system upon the
 following:

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